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IN THE CIRCUIT COURT OF WASHINGTON COUNTY, MISSISSIPPI seg, £ uy oACV OFS <-f-5

NDMS
JAMES W. LOWE PETITIONER
aw. kev egause NO.: snillg On b3 cL
DEMOCRATIC MUNICIPAL EXECUTIVE,
COMMITTEE OF THE CITY OF ohh 23} 2a
MISSISSIPPI DEFENDANT
PETITION FOR JUDICIAL REVIEWE DECISION OF Sari s
THE RATIC MUNICIPAL EXECUTIVE COMMITTEE
QF THE CITY OF LELAND, MISSISSIPP!

COMES NOW Jarnes W. Lowe, Fotltioner hargin, pursuant to Miss, Code Ann.
§23-15-861(4), by and through the undersigned counsel, and files his Petition tar Judicial
Review of the Decision of the Democratic Municipal Executive Commitiee of the City of
Leland, Mississippi denying certification to Petitioner as a candidate for the Democratic
nomination for the position of Mayor of the City of Leland, Mississippi in support of this
pétition, Petitioner states as follows:

1. Petitioner Is a bona fide adult resident citizen of the City of Laland,
Washington County, Mississippi, whose address is 126 Robb Steet, Leland, MS 38756.

2 Defandant @ municipal executive commities established pursuant to
Mississippi iaw, and may be sérved with process by Serving ite Chairman, Danny Caldwell,

Lge 48.55 102 O'Quinn Street, Leland, Mississinpi, This Court has subject matter jurisdiction of this
action pursuant to Miss. Code Ann. §28-15-961(4), which provides jor judicial review by
this Court of Defendant's actions.

3. This Court has personal jurisdiction over the parties, and venue is proper in
‘he Circuit Court of Washington County. Mississippi.

4. Patitinner is a qualified elector of ine City of Leland, Mississippi. He mests

ail of the quatifications tor the Otfice of Mayor for the City of Letand, Mississippi. He has

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not been convicted of a felony in a court of this state, or in any federal court, nor he has he
been convicted of a crime in any other state which is a felony under the laws of this state.

5. Petitioner properly filed qualifying papers to enter the Leland Democratic
Primary Election for the Office of Mayor. On Friday, March 13, 2009, Plaintiff received a
hand-delivered latter from Oefendant, signed by Chairman Danny Caldwell. This letter
Stated, fnter alla, that Defendant nad recelved a “patition” on March 11, 2009 challenging
Patitioner's certification for the Office of Mayor. The letter did not identify the person
challenging Petitioner's certification, nor dic it state the purported basis for the chaiangs.
No copy of this “petition” was provided to Petitioner. The letter further advised Petitioner of
the scheduling of a hearing on the following Monday, March 16, 2009, af 4:00 p.m. ai the
Laland City Hall. A copy of this March 13, 200$ letter is attached hereto as Exhibit 1.

6. On Monday, March 16, 2009, Petitioner appeared for Ihe “hearing,”
accompanied by several supporters. Plaintiff was not provided with a copy of the “petition”
at that time and, in fect, no petition was aver presented at the hearing,

7. When the hearing was opened, Chairman Caldwell announced that it would
be hald in Executive Seesion, in violation of Mississippi's Open Meetings Law, Miss. Code
Ann. §25-41-1, ef seq. It was only at this point that Petitioner was advised that the
individual challenging his cartification was his opponent, current Mayer Barbara Brooks.

8. ‘Tha hearing was conducted in secret, and Petitioner was questioned in
Executive Session. It was at this point that Petitioner was advised, for the divst time, that
his certitication was being challenged on the basis of “party disloyalty” wnen Petitioner's
questioning was compleied, he was forced to leave the room and Mayor Brooks was
called Info the Executive Session, where sha Presumably testified. As ths testimony was,

likewise, taken secretty, Petitioner is unaware of Its content. »»
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g. At the close of the testimony, the Commitiee was presetited with a
Mississippi Attomey Genarel’s Opinion which addressed the impropriety of an Executive
Commities’s refusal to piace a candidate's name on a ballot because of alleged disloyalty.

10, Chairman Cakiwell then adjourned tna meeting, stating that the Executive
Committae would have te investigate the matter further and obtain mors information
before taching a decision on Petitioners certification. Petitioner is unaware wheal
additional investigation occurred, or what additional information was obtained but, In any
event, any such additional “fact-finding” occurring outside of the hearing would have been
improper.

11. On Wednesday, March 18, 2009, Petitioner received a lelier from
Defendant, daied March 17, 2009. again signed by Chairman Caldwell, This letter, a copy
of which is attached as Exhibit 2", aclvised Petitioner that his certification had been
challenged “based on claims that {he] violated the Democratic Constitution of the State of
Mississippi by serving on the Leland Republican Municipal Executwe Commitiee and
supporting the Republican Party." The letter further advised Petitioner that the Commities.
none of whom wera ever identifiad, had voted unanimously to deny his certification to be a
Darmocratic candidate for mayor.

12. This action by Detendani is a clear violation of Mississippi law. Under
Mississippi's Election Code, a party Executive Committee is authorized to make only the
following determinations regarding whether a candicate should be placed on the bailot for
a primary election:

a. whether he is a quakfied elector of ihe state;

b, whether he meets all other qualifications to hold the office (or has

presented absolute proof thet he with, subject to no contingencies,
meet all qualifications on or before the date of the election): and

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c. whether he has been convicted of any felony in a court of this state,
or of ary offense in another state which is a felony under the laws of
this state, or whether he has been convicted of any lelony in a federal
coun.

Miss. Code Ann. §23-15-299(7).

13. Defendant had ne authority under Mississippt law to. Impose any additional
“qualifications” for Petitioner's candidacy. Two Mississippi Attorney General's Opinions,
Hemphill, January 16, 2003, Opinion No. 2003-0015 and Micloisan, January 29, 2007,
Opinion No. 2008-00662, expressly note that an executive committees cannot refuse tp
place an otherwise qualified candidate on a ballot because he has supported another party
in the past. To do 86 would be contrary to both Mississippi law and the Mississippi
Constitution. This is the case regardless of any provisions of a party's Constitution or other
rules,

14. Further, the actions of the Letend Democratic Municipal Executive
Committee in attempting to add a “party loyalty” componsnt {o the certification process
censtitutes a change in the law or practice regarding elections, which would not only have
to have been enacted by ihe Mississipp! Legistature bul would also have to be pre-cleared
by the United States Department of Justice Pursuant to the provisions of the Voting Rights.
Act before it could be lawfully enforead. Nelther of these events have occurred and,
accordingly, Defendant's actions must ba reversed for this separate reason.

15. Finally, the actions of Defendant in holding a “hearing” on the chalienge to
Patitioner’s candidacy in Executive Session, and taking secret testimony, clearly violates
Mississippi's Open Meetings law, and any action taken in this improper meating were null
ard void.

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WHEREFORE, Petitioner respectiully requests that the Court set art immeciate
hearing of this Petition, and that this Court determine thet Petitioner {s legally qualified to
have his name placed upon the ballot as a candidate for Mayor in the Democratic primary
in the City of Leland, Mississippi, and direct trat hie name be so placed. Petitioner further
requesis an award of attomey’s fees and expanses of litigation as @ consequence of

Defendant's clear and deliberate viclation of established law. Petitioner further requests

NM rd.”

Andrew N. Alexander ili, MSB#1310
Attomay for Petitioner

any other relief as to which he may ba entitled.
THIS, the 20" day of March, 2009.

OF COUNSEL: ©

Lake Tindall, LLP

427 South Poplar Strest
P.O. Box 918

Greenvile, MS 38702-0918
Fetepnone: 662/378-2121
Facsimile: 662/378-2183

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March 11, 2009

Leland Democratic Municipal
Executive Committee
Leland, MS 38756

Dear Committee Members:

[ have filed a qualifying statement of intent as a Democrat for the position of Mayor of
the City of Leland. | have been a loyal democrat acting in accordance with the rules of
the Democratic Party of Mississippi as set forth in the said Constitution and Bylaws.

This letter is written to inform you and to request that the Democratic Municipal —
Executive Committee deny the certification of James W. Lowe as a democratic candidate
for Mayor for the May 3, 2009 party primary. This deniel request is based on the attached
copy of recorded documents which includes the Qualifying Statement of Intent for
Republican Municipal Executive Committee and the Minutes from the meeting on
February 20, 2005. As you can see, Mr. Lowe is a republican serving on the Leland
Municipal Republican Executive Committee during the last four years. These documents
and the required $10 filing fees verifies that Mr. Lowe have publicly and financially
supported the Republican Party and/or the election to office of any person not running as

a Democrat. (See Attached)

This is without a doubt a violation of the Democratic Party State Constitution; and
according to the Constitution, Mr, Lowe should not be certified as a Democratic

candidate for the position requested.

As ak Democrat, I submit to-you,

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QUALIFYING STATEMENT OF INTENT
FOR REPUBLICAN MUNICIPAL EXECUTIVE
COMMITTEE

t
I. RIO mnes Vs. hese
(Name, as it wili appear an the ballot)

———r
MS tociger 3S bE
(Mailing Address}

Lf, nC Lf st

(Street address)

Kelend  fY75 22756

(City) (State; (Zip code)

bbe - 696 - HELE james iwlance ge bell South, net
(Work teieprone) (Email Address)

(ome telephone)

a qualified electoy of the municisality of te Gary cf

State of Mississippi, do hereby declare my candidacy for the Republican Party for
nomination for the office of Executive Committee Member at the primary election

scheduled to be held on May 3, 2005.

I hereby certify that: (mark as applicable)

[3 y have never been convicted of a crime puzishable by confinement in
the Penitentiary.

a3 have bever been convicted of a felony in federal court, or of a

felony in the court of another state, as provided in Section 44 of the
Mississippi Constitution.

a I meet all constitutional, statutory and other legal requirements to

ahold said office. “>
Be Pie a3-OF-O 5

(Sign jare of candidate; (Date)

ren, _LLL, AD) BYE > eo.

7 Stgnaluere} tT fle} (Date)

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Minutes From Meeting on February 20, 2005 of the Executive Committee of Leland, MS.

Present were as follows:
Perrin Grissom, Jr.
Richard Cousino
Trody Tubertini
Amy Taylor (absent- out of town)
Charles Lillo (absent)

Meeting Purpose: To Elect New Members to the Committee

Minutes: Perrin Grissom, Jr. resigned today because of duties of the Election
Commission. New members were elected to take the place of members who have
stepped down from their duties on this committee.

Newly elected Members as follows:

Bart Freeland
Don Hubbard
James Lowe

Minutes recorded by Trudy Tubertini, Secretary
Date; February 20, 2005

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Leland Democratic Municipal Executive Comunittee
T.cland, MS 33756

March 13,2009

Mr. James Lowe
126 Rebb Sireet
Leland, ME 38756

Dear My, Lowe:

The Leland Democratic Minicipal Exceutive Commitee received a petition on March
11, 2008 challenging your certification for Mayor for the Mzy 5", 2009 Democratic
primary election. A hearing has been scheduled an this petition for Monday, March 16,
2009 = 4:00 pen at the Leland City Hal) 2" Floor. We ask that you be present for this

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Leland Democratic Municipal Executive Committee
Lejend, MS

March 17, 2005

Mr, James Lowe
126 Robb Street
Leland, MS 38756

Dear Mr, Lowe:

Toe Leland Democratic Municipet Executive Commitee received a petition ch

your cenification as a demoerstic candidate for Mavor in the Leland Bomocratie Prieae
schedule for May 5, 2909. Tie chalienge was based on claims thet you vioisted the
Democratic Constimtion of the State of Mississippi by serving on the Leland Republican
Municiral Exccutive Comminee and supporting the Republican Party. After reviewing
the. evidence ang having a hearing with you. the commitce unsnimovsty voted 10 deny
your certification to be a Democratic candidate for Mayor, ,

Respectively.
/ ‘\

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EXHIBIT

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‘year of | incomprehension . Lite Torch Key, FL..7 1s .
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